Case 3:07-cr-00145-MCR   Document 199   Filed 06/05/08   Page 1 of 8
Case 3:07-cr-00145-MCR   Document 199   Filed 06/05/08   Page 2 of 8
Case 3:07-cr-00145-MCR   Document 199   Filed 06/05/08   Page 3 of 8
Case 3:07-cr-00145-MCR   Document 199   Filed 06/05/08   Page 4 of 8
Case 3:07-cr-00145-MCR   Document 199   Filed 06/05/08   Page 5 of 8
Case 3:07-cr-00145-MCR   Document 199   Filed 06/05/08   Page 6 of 8
Case 3:07-cr-00145-MCR   Document 199   Filed 06/05/08   Page 7 of 8
Case 3:07-cr-00145-MCR   Document 199   Filed 06/05/08   Page 8 of 8
